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 8                     IN THE UNITED STATES DISTRICT COURT
 9                        EASTERN DISTRICT OF CALIFORNIA
10

11                                       )
     UNITED STATES OF AMERICA,           ) CASE NO. 2:11-CR-429 KJM
12                                       )
                    Plaintiff,           )
13                                       ) STIPULATION AND
     v.                                  ) PROPOSED PROTECTIVE ORDER FOR
14                                       ) PROTECTED INFORMATION PURSUANT TO
     JERRY EDWARD KUWATA,                ) FED. R. CRIM. P. 16
15   MICHAEL DENNIS MAUPIN,              )
     SCOTT HAMILTON DURHAM,              )
16   CHRISTOPHER WARREN MACQUEEN,        )
     DOUGLAS ARTHUR JOHNSON, and         )
17   ANTHONY VINCENT ZITO,               )
                                         )
18                  Defendant.           )
                                         )
19

20        Plaintiff United States of America, by and through its attorneys
21   of record, Assistant United States Attorney KYLE REARDON and MATTHEW
22   MORRIS, and defendants JERRY EDWARD KUWATA, MICHAEL DENNIS MAUPIN,
23   SCOTT HAMILTON DURHAM, CHRISTOPHER WARREN MACQUEEN, DOUGLAS ARTHUR
24   JOHNSON, and ANTHONY VINCENT ZITO, both individually and by and
25   through their counsels of record, hereby stipulate as follows:
26        1.   The discovery in this case is voluminous, and portions of
27   the discovery contain personal information including, but not limited
28   to, residential addresses, social security numbers, telephone
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 1   numbers, and email addresses (hereinafter “Protected Information”).
 2         2.    In the absence of a protective order, numerous redactions
 3   would be necessary to avoid the unauthorized disclosure or
 4   dissemination of Protected Information to individuals not party to
 5   the court proceedings in this matter.
 6         3.    By this stipulation, the parties jointly request that the
 7   Court issue a protective order pursuant to Rule 16(d) of the Federal
 8   Rules of Criminal Procedure and its general supervisory authority.
 9         4.    The Protective Order applies to all discovery containing
10   Protected Information.     Discovery that does not contain Protected
11   Information is not subject to the Protective Order.
12         5.    Defense counsel shall not give documents that contain
13   Protected Information (or copies of such documents) to any person
14   other than the defendant, the defendant’s spouse, counsel’s staff,
15   investigator(s), or retained expert(s).        The terms “staff,”
16   “investigator,” and “expert” shall not be construed to describe any
17   defendant or other person not: (1) regularly employed by counsel, or
18   (2) hired by counsel as an independent contractor to work exclusively
19   on this case, (3) licensed as an investigator, or (4) retained as an
20   expert.    The defendant, the defendant’s spouse, and defense counsel’s
21   staff, contractor(s), investigator(s), and expert(s) shall not give
22   documents that contain Protected Information (or copies of such
23   documents) to any person.      Copies of documents in which Protected
24   Information has been redacted may be given to outside parties.
25   ///
26   ///
27   ///
28   ///

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 1          6.   Nothing in this stipulation will be construed to prevent
 2   defense counsel, counsel’s staff, investigator(s), or expert(s) a
 3   reasonable opportunity to prepare.
 4               IT IS SO STIPULATED.
 5   DATED: October 26, 2011                   Respectfully Submitted,
 6                                             BENJAMIN B. WAGNER
                                               United States Attorney
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 8

 9                                       By:   /s/ Kyle Reardon_________
                                               KYLE REARDON
10                                             MATTHEW MORRIS
                                               Assistant U.S. Attorney
11
                                               Attorneys for Plaintiff
12                                             UNITED STATES OF AMERICA
13
     DATED: October 26, 2011                   _/s/ Kyle Reardon for__________
14                                             KRESTA DALY
                                               Attorney for KUWATA
15

16   DATED: October 26, 2011                   _/s/ Kyle Reardon for__________
                                               DAVID W. DRATMAN
17                                             Attorney for MAUPIN
18
     DATED: October 26, 2011                   _/s/ Kyle Reardon for__________
19                                             WILLIAM PORTANOVA
                                               Attorney for DURHAM
20

21   DATED: October 26, 2011                   _/s/ Kyle Reardon for__________
                                               MALCOLM SEGAL
22                                             Attorney for MACQUEEN
23
     DATED: October 26, 2011                   _/s/ Kyle Reardon for__________
24                                             THOMAS JOHNSON
                                               Attorney for JOHNSON
25

26   ////
27   ////
28   ////
              Case 2:11-cr-00429-JAM Document 24 Filed 10/27/11 Page 4 of 4

 1   DATED: October 26, 2011                    _/s/ Kyle Reardon for__________
                                                MARKS WERKSMAN
 2                                              Attorney for ZITO
 3
                                   O R D E R
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     Approved and so ordered.
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 6   DATED:    October 27, 2011

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